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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,

               v.                                       CRIMINAL NO. 06-344 (JAG)

 ALBERTO RODRIGUEZ-TORRES,

 Defendant.


                         REPORT AND RECOMMENDATION

        Defendant Albert Rodríguez-Torres was charged in Counts One and Two of a three (3)

counts Indictment and he agreed to plead guilty to Count One of the Indictment. Count One

charges that, on or about October 25, 2006, in the District of Puerto Rico, and within the

jurisdiction of this Court, the defendant herein, a person having being previously convicted in

court of a crime punishable by a term of imprisonment for a term exceeding one (1) year; did

knowingly and unlawfully possess firearms and ammunition, as that term is defined in Title 18,

United States Code, Section 921(a)(3) and 921(17)(A), to wit: a Smith & Wesson 9mm caliber

pistol, bearing manufacturer’s serial number PAY7632, loaded with ten (10) rounds of live

ammunition, a Smith & Wesson .357 caliber revolver, bearing manufacturer’s serial number

BKC7571, loaded with six (6) rounds of live ammunition; a Ruger 9 millimeter caliber pistol,

bearing manufacturer’s serial number 300-88789, loaded with a twenty six (26) rounds of live

ammunition; a Smith & Wesson .357 caliber revolver, bearing manufacturer’s serial number

75K4978, loaded with six (6) rounds of live ammunition, which firearms and ammunition had

been shipped or transported in interstate or foreign commerce. All in violation of Title 18,

United States Code, Sections 922(g)(1).
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           Defendant appeared before this Magistrate Judge on May 16, 2007, since the Rule 11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial by

Jury, which he signed and agreed upon voluntarily after examination in open court, under oath.

           Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge of

this court.1 Upon verifying through defendant’s statement his age, education and any relevant

aspect as to the use of medication, drugs, alcohol or substance dependency, and psychological

or psychiatric condition, to ascertain his capacity and ability to understand, answer and

comprehend the interactive colloquy with this Magistrate Judge, a determination was made as

to defendant’s competency and ability to understand the proceedings.

           Having further advised defendant of the charges contained in above-stated Count One,

he was examined and verified as being correct that: he had consulted with his counsel Yasmín

Irizarry and Victor González-Bothwell2, both from the Federal Public Defender’s Office, prior

to the hearing for change of plea, that he was satisfied with the services provided by his legal

representatives and had time to discuss with them all aspects of the case, insofar, among other

things, regarding the change of plea, the consent to proceed before a United States Magistrate

Judge, the content of the Indictment and the charge therein, his constitutional rights and the

consequences of the waiver of same.


           1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for
Pleading Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made
part of the record.

           2
               AFPD González is the attorney assigned to this case and AFPD Irizarry substituted him at the change of plea
hearing.
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        Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. He was also waiving his right to be presumed innocent and

for the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a

waiver of all above-discussed rights a judgment of guilty and his sentence were to be based on

his plea of guilty, and he would be sentenced by the judge after considering the information

contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Irizarry, indicated he

freely and voluntarily waived those rights and understood the consequences. During all this

colloquy, defendant was made aware that he could freely request from this Magistrate Judge

any additional clarification, repetition, or ask questions and that he may consult with his

attorney at any given time as to any issue.
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        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count One

is a term of imprisonment of not more than ten (10) years, and a fine up to two hundred fifty

thousand ($250,000.00) dollars.            In addition to any term of incarceration, the Court will

impose a term of supervised release of not more than three (3) years and a special monetary

assessment of one hundred ($100.00) dollars.

        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document entitled

“Plea Agreement pursuant to Rule 11(c)(1)© FRCP” (“the Agreement”) was shown to

defendant, verifying his signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was appraised that it was up to the

sole discretion of the sentencing court what the sentence to be imposed on him will be.

        As stated in paragraph three (3) of the Agreement, defendant acknowledges and is aware

that parole has been abolished. The defendant is also aware that, pursuant to Federal Rules of

Criminal Procedure 11(c)(1)©, the Court may accept or reject the plea agreement, or may defer

its decision as to its acceptance or rejection until it has considered the pre-sentence report. If

the Court rejects the plea agreement, the court shall, on the record, inform the parties of this

fact, and afford the defendant an opportunity to withdraw the guilty plea and advise the

defendant that if the defendant persists in a guilty plea, the disposition of the case may be less
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favorable to the defendant than that contemplated in the plea agreement. In addition, as part

of the terms and conditions of this plea agreement, the parties agree that, should the court reject

the plea agreement, the United States reserves the right to withdraw from its obligations under

the same.

        As stated in paragraph six (6) of the Agreement, defendant is aware that his sentence is

within the sound discretion of the sentencing judge and the advisory Sentencing Guidelines

(including the Guidelines Policy Statements, Application, and Background Notes). The

defendant understands and acknowledges that the Court is not a party to this plea Agreement

and thus, is not bound by this agreement or the sentencing calculations and/or

recommendations contained herein. Defendant specifically acknowledges and admits that the

Court has jurisdiction and authority to impose any sentence within the statutory maximum set

for the offense to which the defendant pleads guilty. Defendant is aware that the court may

accept or reject the Plea Agreement, or may defer its decision whether to accept or reject the

Plea Agreement until it has considered the pre-sentence report.

        The above-captioned parties’ estimate and agreement that appears on pages four (4)

and five (5), paragraph seven (7) of the Agreement, regarding the possible applicable advisory

Sentencing Guidelines, were further elaborated and explained. As to Count One, pursuant to

U.S.S.G. § 2K2.1(a)(6), the base offense level is Fourteen (14). Pursuant to U.S.S.G. §

2K2.1(b)(1)(A), an increase of two (2) levels is agreed for specific offence characteristics.

Pursuant to U.S.S.G. § 3E1.1, a decrease of three(3) levels is agreed for acceptance of
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responsibility. Accordingly, the Total Offense Level is Thirteen (13), with a sentencing range

of fifteen (15) to twenty-one (21) months of imprisonment assuming a Criminal History

Category of II.

        As indicated in paragraph seven (7d) of the Agreement, the parties agree to recommend

a sentence of eighteen (18) months imprisonment. The sentence recommendation is made

pursuant to Rule 11(c)(1)(C)of the Federal Rules of Criminal Procedure and in consideration

of Title 18, United States Code, Section 3553.

        As indicated in paragraph eight (8) of the Agreement, the United States and the

defendant agree that no further adjustments or departures to the defendant’s total offense level

shall be sought by the parties. The parties agree that any request for a sentence of less than

eighteen (18) months would constitute a material breach of the plea agreement.

        The parties do not stipulate the defendant’s Criminal History Category.

        Upon sentencing the United States shall more the court for the dismissal of Count Two

of the Indictment.

        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt. Counsel and defendant acknowledged
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the evidence of the government was fully disclosed to them and previously discussed between

the two. Defendant was able to understand this explanation and agreed with the government’s

submission. Defendant was also read and shown a written document entitled Statement of

Facts, which had been signed by defendant and his counsel and is attached to the Agreement,

wherein the signature of counsel for the government also appears.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any

sentence of imprisonment would be served, without him being released on parole. Defendant

was additionally informed that prior to sentence, the sentencing judge will have a pre-sentence

report and that it would be made available to him, to his counsel and to the government, so that

they be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed,

both defendant and the government may appeal the sentence of the court.3




        3
        The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in
paragraph seventeen (17) a waiver of appeal.
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        Defendant waived the reading of the Indictment in open court because he is aware of

its content. Defendant was provided an opportunity to see and examine same, indicating he

availed himself of the opportunity to further discuss same with his attorney and then he

positively stated that what was contained in Count One was what he had done and to which

he was pleading guilty during these proceedings. Thereafter, defendant expressed in no

uncertain terms that he agreed with the government’s evidence as to his participation in the

offense.    Thereupon, defendant indicated he was pleading guilty to Count One of the

Indictment in Criminal No. 06–344 (JAG).

        This Magistrate Judge after having explained to the defendant his rights, ascertaining that

he was acting freely and voluntarily to the waiver of such rights and in his decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such

a plea, is recommending that a plea of guilty be entered as to Count One of the Indictment in

Criminal No. 06-344 (JAG).

        IT IS SO RECOMMENDED.

        The sentencing hearing will be held on August 17, 2007 at 10:30 a.m., before

Honorable Jay A. García-Gregory, District Court Judge.

        San Juan, Puerto Rico, this 24th day of May of 2007.



                                                s/ CAMILLE L. VELEZ-RIVE
                                                CAMILLE L. VELEZ-RIVE
                                                UNITED STATES MAGISTRATE JUDGE
